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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

JOCYNTIA MARIE BANNER           :                     CIVIL ACTION NO.: 2:19-CV-10653
                                :
VERSUS                          :                     JUDGE:
                                :                     NANNETTE JOLIVETTE BROWN
ST. JAMES PARISH D/B/A          :
RIVER PARISHES TOURIST,         :                     MAGISTRATE JUDGE:
CONVENTION AND VISITORS         :                     JANIS VAN MEERVELD
BUREAU, THE ST. JAMES PARISH    :
COUNCIL, TIMOTHY P. ROUSSEL AND :
GARY BOE                        :

                      PLAINTIFF’S WITNESS AND EXHIBIT LIST

       NOW COMES, through undersigned counsel, Jocyntia Banner who respectfully

submits a Witness and Exhibit List in accordance with the Court’s November 1, 2019 Scheduling

Order [Doc. 20].

WITNESSES:

       Will Call:

       1.     Jocyntia Banner, Plaintiff / Employee


       2.     Timothy Roussel, President of St. James Parish / Employer;

       May Call:

       3.     Gary Boe, Supervisor

       4.     Rena Jackson, Co-worker

       5.     Wilma Harvey, Co-worker

       6.     Joy Banner, Co-worker and sister

       7.     Jesse Lambert, Worked for Houmas house and was on the employment selection
              committee.

       8.     Corey Faucheaux, St. Charles Parish economic development director and was on
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      the employment selection committee.

9.    Rachel Burns, worked for Q Hotels and was on the employment selection
      committee.

10.   Kim Fontenot, worked for San Francisco Plantation and was on the employment
      selection committee.

11.   Hillary Loeber, worked for Oak Alley Plantation and was on the employment
      selection committee.

12.   Michelle Jenkins, board member and employee of St. James Parish and was on the
      employment selection committee.

13.   Ashley Rodgers, worked at Whitney Plantation and was on the employment
      selection committee.

14.   Stephen Keller, was on the employment selection committee.

15.   Paul Aucoin, board member.

16.   Peggy Joseph, board member.

17.   Betty Joseph, board member.

18.   Delores Florin, board member and was on the employment selection committee.

19.   Garret Monti, supposed board member.

20.   Nicole Veillon, board member.

21.   Louis Kliebert, board member.

22.   Tim Roussel, Parish President.

23.   Brandon Keller, St. James communications director

24.   Pat Dupuy, efforts to get rid of Jo Banner

25.   Michelle Octave, CAO of St. James Parish

26.   Natalie Robottom, Parish President, St. John Parish

27.   Gloria Leary - Ms. Banner’s Primary Care Doctor
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    28.    Representative of River Parish Tourist Commission

    29.    Representative of St. James Parish

    30.    Representative of St. James Parish Counsel

    31.    Any individual identified in plaintiff and/or defendants’ initial disclosures and
           discovery and/or subsequently identified through discovery;

    32.    Any individual/witness for impeachment or any other purpose allowed by law;

    33.    Any individual/witness needed to authenticate any documents or records offered
           at trial;

    34.    Any individual for rebuttal purposes; and

    35.    Any witness listed by any other party.


EXHIBITS

    Plaintiff may introduce the following exhibits:

    1.     Emails and attachments to emails (BANNER 1 - 47);

    2.     River Parishes Convention, Tourist & Visitors Commission Annual Financial
           Report Year Ended June 30, 2018 (BANNER 48 - 103);

    3.     Refund of Contributions Plan A Parochial Employees’ Retirement System of
           Louisiana (BANNER 104 - 105);

    4.     Notice of Right to Sue (EEOC Charge 461-2018-01131) dated 5/1/19 (BANNER
           106-108);

    5.     Notice of Right to Sue (EEOC Charge 461-2019-01090) dated 5/1/19 (BANNER
           109 - 111);

    6.     Notice of Right to Sue (EEOC Charge 461-2019-00667) dated 5/1/19 (BANNER
           112 - 114);

    7.     IRS Wage and Income Transcript Tax Period December, 2017 (BANNER 115 -
           116);

    8.     IRS Wage and Income Transcript Tax Period December, 2018 (BANNER 117);
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9.    EEOC letter dated January 4, 2019 regarding acknowledgment of Charge No.
      461-2019-00667 (BANNER 118 - 122);

10.   Charge of Discrimination (EEOC Charge 461-2019-00667) (BANNER 123);

11.   Charge of Discrimination (EEOC Charge 461-2019-01090) (BANNER 124);

12.   River Parishes Tourist Commission Response to EEOC Charge #s 461-2018-
      01131 and 461-2019-00667 (BANNER 125-128);

13.   Charge of Discrimination (EEOC Charge 461-2018-01131) (BANNER 129 -
      130);

14.   Business Card for Jo Banner (BANNER 131);

15.   Letter dated April 18, 2019 from Louisiana Workforce Commission to Jocyntia
      Banner “Disqualifying Separation Determination” (BANNER 132 - 134);

16.   Email to Chelsea from Jo Banner attaching resume (BANNER 135);

17.   Email to Claws Production from Jo Banner attaching resume (BANNER 136);

18.   Email to Coach Willie Production from Jo Banner attaching resume (BANNER
      137);

19.   Email to NCIS (NOLA) from Jo Banner attaching resume (BANNER 138);

20.   Email to SRR from Jo Banner attaching resume (BANNER 139 - 140);

21.   Email to The Purge Production from Jo Banner attaching resume (BANNER 141);

22.   Email to The Secrets We Keep Production from Jo Banner attaching resume
      (BANNER 142);

23.   Letter dated October 25, 2017 to River Parishes Tourist Commission from Timmy
      Roussel, St. James Parish regarding request that all action towards choosing a
      director for this commission be delayed (BANNER 143);

24.   Boots on the Ground Production Services ad (BANNER 144);

25.   Boots on the Ground Proposal for St. John The Baptist Parish Film Industry
      (BANNER 145 - 150);

26.   Jo Banner’s Resume (BANNER 151);
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27.   Any and all discovery and documents produced in discovery by St. James Parish;

28.   Any and all documents pertaining to St. James processing RPTC’s payroll and/or
      documents received from RPTC, produced as SJP-000001 - SJP-000236;

29.   Berkley Insurance Company Policy No. PEM-0000028-05, effective March 22,
      2018 through March 22, 2019, issued to St. James Parish Government, produced
      as Bates: SJP-000237 - SJP-000321;

30.   Any and all discovery and documents produced in discovery by Gary Boe and the
      River Parishes Tourist, Convention and Visitor’s Commission;

31.   1135-14 Response Letter produced by Gary Boe and the RPTC;

32.   1135-14 LA Workforce Commission Disqualification Letter produced by Gary
      Boe and the RPTC;

33.   1135-14 Notice of Charge 461-2019-01090 produced by Gary Boe and the RPTC;

34.   1135-14 Termination Letter produced by Gary Boe and the RPTC;

35.   1135-14 Termination Package produced by Gary Boe and the RPTC;

36.   1135-14-RPTC Banner Brochure produced by Gary Boe and the RPTC
      (supplemental production);

37.   1135-14-RPTC Fleur de Film produced by Gary Boe and the RPTC (supplemental
      production);

38.   1135-14-RPTC RPTC Employee Handbook produced by Gary Boe and RPTC
      (supplemental production);

39.   1135-14-RPTC St. John Community Center Brochure produced by Gary Boe and
      RPTC (supplemental production);

40.   1135-14-RPTC Status Report Form, Job Descriptions & DOA Personnel Policy
      produced by Gary Boe and RPTC (supplemental production);

41.   1135-14-RPTC Termination Package produced by Gary Boe and RPTC
      (supplemental production);

42.   1135-14-RPTC West St. John Stakeholders & Pumpkin Palooza produced by
      Gary Boe and RPTC (supplemental production);

43.   Medical Records from Dr. Gloria Leary - Ms. Banner’s Primary Care Doctor;
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       44.    Any and all discovery and documents produced in discovery by any party;

       45.    The transcript and/or video or digital recording of the deposition of any witness
              for impeachment or other purposes allowed by law, including but not limited to
              offering the testimony of any witness who is not available to testify during trial;

       46.    Any disclosures and discovery responses submitted by any party for impeachment
              or any other purpose allowed by law;

       47.    Any pleadings submitted by any party for impeachment or any other purpose
              allowed by law;

       48.    Any documents and/or additional documents received from Defendant or
              subsequently produced through discovery or motion to compel;

       49.    Any other documents for rebuttal purposes; and

       50.    Any and all depositions (including exhibits) taken or to be taken (including
              exhibits).

       Plaintiff reserves the right to amend and/or supplement this witness and exhibit list upon

the completion of discovery.


                                     Respectfully submitted by:

                                     /s/ Jean-Paul Robert
                                     Jean-Paul Robert, Bar # 27628
                                     Attorney at Law, L.L.C.
                                     8148 Highway 44
                                     Gonzales, LA 70737
                                     Tel: (225) 647-9200
                                     Fax: (225) 647-9300
                                     ATTORNEY FOR PLAINTIFF

                                        CERTIFICATE

       I hereby certify that the foregoing Witness and Exhibit List was sent via electronic
transmission to all counsel of record on this 2nd day of July, 2020:

                                                    by:
                                                            /s/ Jean-Paul Robert
                                                            Jean-Paul Robert, Bar # 27628
                                                            Attorney at Law, L.L.C.
